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Exhibit 1

Stipulation

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STIPULATION REGARDING BRIEFING DEADLINES

This stipulation is entered into by and among the above-captioned Plaintiffs and

Defendants (collectively, the “PaLies”). The Parties state as follows:
RECITALS

WHEREAS, on March 27, 201 8, Plaintiffs commenced the above-captioned adversary
proceeding by filing their Complaint [Adv. D.I. l] (the “Cornplaint”) against Defendants; and

WHEREAS, after the Complaint Was filed, the Parties conferred with respect to a
proposed schedule governing briefing deadlines

N()W THEREFORE, SUBJECT T() THE COURT’S APPROVAL, IT IS HEREBY
STIPULATED AND AGREEI} that the following shall govern the schedule for briefing
deadlines in the litigation of the Adversary Proceeding concerning the Complaint:

1. The deadline for Defendants to tile and serve a motion to dismiss the Complaint is
extended to and including §\_me 18, 2018, at 4:00 p.m. (ET).

2. The deadline for Plaintiffs to file and serve an opposition to such motion is M
16, 2018, at 4:00 p.m. (ET}, and any reply by Defendants in further Support of such motion shall
be due two (2) Weeks from the date PIaintiffs file and serve their opposition

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June 1 1, 2018
Wilmington, Delaware

June ll, 2018
Wilmington, Delaware

/fs'/Sean M. Beach

YOUNG CONAWAY STARGATT & TAYLOR, LLP
Sean l\/I. Beach (No. 4070)
Edmon L. Morton (No. 3856)
lan .l. Barnbrick (No. 5455)
Betsy f",. Feldman (No. 6410)
Rodney Square

1000 North King Street
Wilmington, Delaware 19801
Tel: (302) 571-6600

FaX: (302) 571-1253

~and-

KLEE, TUCHIN, BOGDANOFF & STERN LLP
Kenneth N. Klee (pro hac vice)

Michael L. Tuchin ([)1'0 hac vice)

David A. Fidler (pro hac vice)

Jonathan M. Weiss (pro fmc w'ce)

1999 Avenue of the Stars

39th Floor

Los Angeles, California 90067

Tel: (310) 407-4000

Fax: (310) 407-9090

Cozmsel_for fha Debrors and Debtors in P()Sse.s'sion

As/.]as'on A. Gibson

THE ROSNER LAW GROUP LLC
P`rederick B. Rosner (DE No. 3995)
Jason A. Gibson (DB No. 6091)
824 Noith Market Street, Suite 810
Wifmington, DelaWare 19801
Telephone: (302) 777-l l 11

Einail: rosner@teann'osner.com
gibson@teamrosner.com

-and-

THE SARACHEK LAW FIRM
101 Park Avenue, 27th Floor
New York, NY 10178

Telephone: (212) 808-7881
Facsimiie: (646) 861-4950

Emaii: joe@saracheklawfirm.com

Cozmseljor flee Plaz'nf!_'f}fs‘

 

 

